           Case 2:18-bk-50708               Doc 127         Filed 03/23/22 Entered 03/23/22 13:30:32                                    Desc Main
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Fill in this information to identify the case:

Debtor 1              Brian J. Halenar

Debtor 2              Katie A. Halenar
(Spouse, if filing)

United States Bankruptcy Court for the : Southern                   District of Ohio
                                                                               (State)

Case number           2:18-bk-50708



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:              NewRez LLC d/b/a Shellpoint Mortgage                 Court claim no. (if known):         7
                               Servicing

Last four digits of any number you               XXXXXX2344                         Date of payment change:
use to identify the debtors’ account:                                               Must be at least 21 days after date of              5/1/2022
                                                                                    this notice

                                                                                    New total payment:
                                                                                    Principal, interest, and escrow, if any             $1,342.88

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtors’ escrow account payment?
       $ No
       $ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:         $ _______                                        New escrow payment :            $ _______

Part 2:         Mortgage Payment Adjustment

2.     Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
       variable-rate account?
       $ No
       $ Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                        3.125%                           New interest rate:          4.00%

             Current principal and interest payment:       $ 820.17                         New principal and interest payment:          $ 860.46

Part 3:         Other Payment Change
3.   Will there be a change in the debtors’ mortgage payment for a reason not listed above?
     $ No
     $ Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                             New mortgage payment:             $ _________




Official Form 410S1                              Notice of Mortgage Payment Change                                                 page 1
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                                                          Document      Page 2 of 4
 Debtor 1            Brian J. Halenar                                               Case number (if known) 2:18-bk-50708
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

    $ I am the creditor.
    $ I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Linda St. Pierre                                                               Date     03/22/2022
     Signature

Print:         Linda                                                St. Pierre         Title    Authorized Agent for Creditor
               First Name            Middle Name                    Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                      30076
               City                          State                   ZIP Code

Contact phone      860-240-9156                                                        Email    Linda.St.Pierre@mccalla.com




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                                                            Bankruptcy Case No.:     2:18-bk-50708
  In Re:                                                    Chapter:                 13
            Brian J. Halenar                                Judge:                   C. Kathryn Preston
            Katie A. Halenar

                                         CERTIFICATE OF SERVICE

       I, Linda St. Pierre, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road, Roswell,
 GA 30076, certify:

           That I am, and at all times hereinafter mentioned, was more than 18 years of age;

         That on the date below, I caused to be served a copy of the within NOTICE OF MORTGAGE
 PAYMENT CHANGE filed in this bankruptcy matter on the following parties at the addresses shown, by
 regular United States Mail, with proper postage affixed, unless another manner of service is expressly
 indicated:

 Brian J. Halenar
 9270 Huggins Ln.
 Reynoldsburg, OH 43068

 Katie A. Halenar
 9270 Huggins Ln.
 Reynoldsburg, OH 43068

 Ronald A. Wittel, Jr.                             (served via ECF Notification)
 1141 S. High St.
 Columbus, OH 43206

 Edward A. Bailey                                  (served via ECF Notification)
 Chapter 13 Trustee
 130 E. Wilson Bridge Road
 Suite 200
 Worthington, OH 43085

 Asst US Trustee (Col)                             (served via ECF Notification)
 Office of the US Trustee
 170 North High Street
 Suite 200
 Columbus, OH 43215

      I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
 CORRECT.

 Executed on:        03/23/2022          By:   /s/Linda St. Pierre
                       (date)                  Linda St. Pierre
                                               Authorized Agent for Creditor
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